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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )         4:03CR3034
                                             )
                  Plaintiff,                 )
                                             )
      vs.                                    )
                                             )         ORDER
JASON CHARLES YAEGER,                        )
                                             )
                  Defendant.                 )

       IT IS ORDERED that Defendant Yaeger’s emergency motion for interruption of
sentence (filing 97) is denied.

      March 5, 2008.                      BY THE COURT:

                                          s/ Richard G. Kopf
                                          United States District Judge
